DETROIT ae PagelD.372_ Fited 04/07/15 Page torz6e-—_J
conn ome, TPR ot Neepared
Report Date: 2/9/2015 She -) chu ra Steg fre Sera yard 1

DETROIT POLICE DEPARTMENT

Page 1 of 2

Subject:

Case Report Status
County
City/Township

Occurred On

{and Between)
Location

Csz

CGenaus/Geo Code
Grid

Call Source

Vehicle Activity
Vehicle Traveling
Cross Street

Moans

Other Means.
Motive

Other Motives

Report Narrative

02/4918/SCRAP YARD VISITINO ARRESTS

A- APPROVED Date Entered = 2/9/2016 4:57:35 PM Reporting Officer
82 - WAYNE Enlored By 234398 - MCKAY, REBECCA 234398 - MCKAY, REBECCA
99 - DETROIT Date Verified 2/9/2015 5:45:41 PM
Verified By 234398 - MCKAY, REBECCA Assisted By
2/6/2015 3:00:00 PM Date Approved = 2/9/2015 5:45:48 PM 233904 - SPLITT, LAURA
2/6/2015 5:00:00 PM Approved By = 234398 - MCKAY, REBECCA
8122 W FORT Connecting Cases Asalst Agency
Disposition ACTIVE
5237 Tactical Actions
SW7 - 0207 Claarance Reason

Date of Clearance

Reporting Agency = DETROIT POLICE DEPARTMENT

Division ~=PDETROIT POLICE DEPARTMENT
Notifled

MCKAY $397 SPLITT 3636 GENERAL ASSIGNMENT UNIT
A: NONE
&: CUSTOMER INQUIRY

C: |, DETROIT POLICE SERGEANT REBECCA MCKAY OF THE GENERAL ASSIGNMENT UNIT, WITH DETECTIVE LAURA
SPLITT VISITED SEVERAL SCRAP YARDS AFTER RECEIVING INFORMATION ON THE THEFT OF SCRAP METAL FROM 1950
MEDBURY FERROUS PROCESSING (A SCRAP YARD WHO PURCHASES AND STORES INDUSTRIAL AND/OR PROCESSED
SCRAP METAL). FERROUS PROCESSING HAS BEEN MONITORING THE FACILITY NIGHTLY AND CAUGHT SEVERAL
PERPETRATORS STACKING METALS FROM THEIR YARD iN A NEARBY VACANT BUILDING. FERROUS SUPPILED
OFFICERS SEVERAL NAMES AND PHOTOGRAPHS FOR OUR INVESTIGATION.

JOHN RICHARD HOLLAND WM 3-10-61

WILLIE DOVE LAVETTE BM 7-21-68

JAMES GREENE BM 4-2-69

ROBERT JONES BM 2-11-53

(2) UNIDENTIFIED PHOTOS OF PERSONS CAUGHT BY FERROUS SECURITY

MYSELF AND DETECTIVE SPLITT WENT TO LAFAYETTE RECYCLING, SIMS METAL DYNAMICS AND DETROIT IRON AND
METAL RECEIVING NEGATIVE RESULTS AT ALL THREE YARDS, MEMBERS WENT TO SOUTHWEST METALS AND FOUND
(4) OF THE (8) SUSPECTS FREQUENTLY SCRAPPED AT THE YARD. | REQUESTED THE SCRAP RECORDS FOR HOLLAND
(WHO GREG ASLINGER INDICATED HAS. BEEN COMING INTO SOUTHWEST METALS EVERY DAY WITH 800-900 POUNDS
OF PREPARED STRUCTURAL STEEL FOR MONTHS) AND LAVETTE. THE TWO PHOTOGRAPHS WERE IDENTIFIED AS
PERSONS WHO ASSIST OTHER CUSTOMERS AT THE YARD AND MEMBERS RECEIVED THE CUSTOMER INFORMATION
FOR ONE OF THOSE INDIVIDUALS AS GORDON DAVIS BM 30'S OF 2249 FARNSWORTH DRIVING A WHITE CHEVY BLAZER
CHJ0583.

SCALE OPERATOR SPOKEN TO WAS RONALD WALLACE BM25 12-23-1989. WE DID NOT RECEIVE ANY DOCUMENTS THIS
DAY. | ALLOWED TWO DAYS FOR PROCESSING AS A COURTESY.

Offense Detail: 9941 - INSPECTIONS/INVESTIGATIONS - OTHER INSPECTIONS

Offense Description
IBR Code

IBR Group

Crime Against
Offense File Class

PACCG
Local Cade

Using
Criminal Activity

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9941 - INSPECTIONS/INVESTIGATIONS « OTHER INSPECTIONS
Location 34 - SCALE SITE

Offense Completed? = YES No, Prem. Entered
HateBias = 00- NONE (NO BIAS} Eritry Method
98004 - Domestic Violence NO Type Seourity

INSPECTIONS/INVESTIGATIONS -
OTHER INSPECTIONS
Tools Used

Printed For:
Printed: February 26, 2015 - 4:03 PM

DETROIT POLICE DEPARTM ENT CRIME = 73 Fited 0470 TIS Page 2 of 26]

REPORT

DETROIT POLICE DEPARTMENT

Case No. 1502090237
Report No. 1562090237.2
Report Date: 2/42/2015

Page 1 of 3

Subjact:

Caso Report Status
County
City Fownship

Occurred On

(and Between)
Location

csz

Census/Gac Coda
Grid

Call Sources

Vehicle Activity
Vehicle Traveling
Cross Street

Means
Other Means

Motive
Other Motives

Report Narrative

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02/4918/SCRAP YARD VISIT/NO ARRESTS

|-IN PROCESS Date Entered 3/96/2015 4:41:02 PM Reporting Officer
82 - WAYNE Entersd By 234398 ~ MCKAY, REBECCA 234396 - MCKAY, REBECCA
99 - DETROIT Data Verlfied
Verified By Assisted By
2/6/2016 3:00:00 PM Date Approved
2/12/2015 Approved By:
8122 W FORT Connecting Cases Assist Agency
Disposition ACTIVE
§237 Tactical Actiona
SW7 - 0207 Clearanca Reason
Date of Clearance
Reporting Agency = DETROIT POLICE DEPARTMENT
Division = DETROIT POLICE DEPARTMENT
Notified
MCKAY $397

A: NONE (REFER TO OFFENDER SECTION)
S$: SCRAP YARD RECORDS REQUEST

C: 1, DETROIT POLICE SERGEANT REBECCA MCKAY OF THE GENERAL ASSIGNMENT UNIT ALONG WITH DETECTIVE
LAURA SPLITT REQUESTED SPECIFIC RECORDS FROM SOUTHWEST METALS THROUGH MANAGER GREG ASLINGER ON
FEBRUARY 6, 2015.

ON FEBRUARY 12, 2015 MEMBERS RECEIVED A PORTION OF THE REQUESTED RECORDS (PLEASE REFER TO THE
ATTACHED REPORT FOR THE SPECIFIC REQUESTS). MEMBERS RECEIVED A RUNNING TALLEY OF TRANSACTIONS
BEGINNING AUGUST 26, 2014 FOR JOHN HOLLAND. THIS SHEET IS TITLED BY SOUTHWEST METALS AS "BUY BY
SELLER REPORT". THIS REPORT SHOWS (45) DATES WHERE HOLLAND SOLD METALS TO SOUTHWEST, MANY OF
THESE DAYS IT APPEARS THAT HOLLAND MADE MULTIPLE VISITS. HOLLAND SOLD 117, 165 POUNDS OF METAL OVER
THIS TIME FRAME AND WAS PAID $13, 379. 12 FOR THE MATERIAL. ON MOST OF THESE DAYS HOLLAND SOLD
HUNDREDS AND EVEN THOUSANDS OF POUNDS OF PREPARED STRUCTURAL STEEL, UN-PREPARED STRUCTURAL
STEEL, AND PRE-HEAVY METAL. ALL OFF THESE WOULD BE CONSIDERED INDUSTRIAL COMODITIES. ASLINGER
PROVIDED THREE PHOTOS AT THE FERROUS SCALE (WE REQUESTED ALL PHOTOS AT THE FERROUS SCALE FOR THE
PAST (30) DAYS AND HOLLAND HAD SOLD METALS ON (12) DAYS DURING THE PREVIOUS (30) DAYS MAKING (58)
TRANSACTIONS). THE THREE PHOTOS PROVIDED DID NOT CAPTURE THE METALS SOLD. SOUTHWEST METALS FAILED
TO PROVIDE A COPY OF HOLLANDS IDENTIFICATION.

NO RECORDS FOR WILLIE LAVETTE WERE PROVIDED
NO IDENTIFICATION FOR ROBERT JONES JR WAS PROVIDED
NO RECORDS FOR GORDON DAVIS WERE PROVIDED

SOUTHWEST METALS PROVIDED TWO RECEIPTS, VIDEO AND PHOTO FOR ONE TRANSACTION MADE BY RICHARD
BAKER BUT FAILED TO PROVIDE PHOTOS AND VIDEO FOR THE SECOND TRANSACTION MADE BY BAKER AS
REQUESTED.

AS A RESULT OF SOUTHWEST METALS FAILURE TO PROVIDE THE DOCUMENTATION REQUESTED, 1 PREPARED AND
SENT AN EMAIL TO JOE FAWAZ AND GREG ASLINGER OUTLINING THE REQUEST ONCE MORE. | WAS VERY SPECIFIC
AND CLEAR IN MY REQUEST.

ON FEBRUARY 13, 2015 IN RESPONSE TO MY EMAIL, | RECEIVED A TEXT MESSAGE FROM MANAGER GREG ASLINGER
WHERE HE COMPLAINED AT THE AMOUNT OF WORK IT WAS GOING TO BE TO PROVIDE THE VIDEO REQUESTED (WHICH
TURNED INTO A VIDEO REQUEST DUE TO THE FACT THAT SOUTHWEST METALS WAS FAILING TO TAKE PHOTOGRAPHS
OF THE METAL AT THE FERROUS SCALE). | RETURNED TEXT MESSAGE TO ASLINGER ADVISING HIM THAT | NEEDED TO
"SEE" THE MATERIAL SOLD TO SOUTHWEST METALS AND THAT I NEEDED "ALL" THE VIDEO FOR THE REQUEST MADE.

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Printed: February 26, 20715 - 5:46 PM

DETROIT POLICE DEPARTMENT CRIME Fited 04707715 Page 3-0
REPORT

Case No. 1502090237
Report No. 1502090237.2 2

DETROIT POLICE DEPARTMENT

Report Date: 2/12/2015

Page 2 of 3

ON FEBRUARY 16, 2015 | INQUIRED ABOUT THE RECORDS REQUEST AND ASLINGER ADVISED IT WAS COMPLETE AND
READY FOR PICK UP.

ON OR ABOUT FEBRUARY 17, 2015 DETECTIVE SPLITT AND DETROIT POLICE OFFICER TOMMY BELL OF THE GENERAL
ASSIGNMENT UNIT WENT TO SOUTHWEST METALS AND PICKED UP THE DOCUMENT REQUEST WHICH CONSISTED OF
FOUR MEDIUM MANILA ENVELOPES LABELED JOHN HOLLAND, GORDON DAVIS, WILLIAM LAVETTE, AND RICHARD
BAKER (STILL. NOTHING FOR ROBERT JONES JR).

ON FEBRUARY 26, 2015 | REVIEWED THE MATERIAL PROVIDED BY SOUTHWEST METALS.

JOHN HOLLAND - CONTAINED A COPY OF HOLLANDS IDENTIFICATION AND A DVD. AFTER REVIEW, THE DVD
CONTAINED THREE CLIPS. ONE VIDEO CLIP AT THE SCALE WHERE THE REAR OF A VAN IS SEEN WITH ONE DOOR
OPEN. THE MATERIAL INSIDE THE VAN CANNOT BE SEEN. ONE WHERE A VAN BACKS UP AND PULLS AWAY FROM A
PILE OF STEEL. AND ONE WHERE A VAN BACK UP TO A PILE OF STEEL AND IT APPEARS TWO MEN GET OUT AND PULL
STEEL FROM THE REAR OF THE VAN, THE VAN APPEARS TO BE THE SAME AS THE ONE ON THE FERROUS SCALE.

NO OTHER VIDEO WAS PROVIDED.

GORDON DAVIS - CONTAINED A COPY OF DAVIS’ IDENTIFICATION, A "BUY BY SELLER REPORT" AND DVD. THE DVD
CONTAINED THREE CLIPS OF A PICK UP TRUCK CONTAINING HEAVY INDUSTRIAL STEEL. DAVIS HAD NOT BEEN IN THE
YARD OVER THE PAST (30) DAYS. BUT HAS SOLD 126, 715 POUNDS OF METALS RECEIVING $14, 920. 48 SINCE AUGUST
2014. SOUTHWEST METALS FAILED TO TAKE PHOTOGRAPHS FOR THE MAJORITY OF THESE TRANSACTIONS AND HAS
PROVIDED ONLY THREE VIDEOS (PHOTOS WERE REQUESTED ON FEBRUARY 6, 2015}, SO IT 1S IMPOSSIBLE TO KNOW

WHAT DAVIS HAS SOLD THE YARD. MOST OF THESE DAYS DAVIS SOLD STRUCTURAL STEEL, PREPARED STRUCTURAL
STEEL AND PRE-HEAVY METAL.

WILLIAM LAVETTE - CONTAINED (2) TRANSACTION RECEIPTS (ONE FROM JUNE 2014 AND ONE FROM AUGUST 2012).
NO COPY OF IDENTIFICATION.

RICHARD BAKER - CONTAINED ONE TRANSACTION RECEIPT AND A DVD SHOWING THE SALE OF 374 POUNDS OF LEAD
(THIS WAS THE SAME MATERIAL SOUTHWEST METALS PURCHASED FROM BAKER ON FEBRUARY 6, 2075, BUT THE
YARD PAIS BAKER FOR ALUMINUM. THE MATERIAL WAS THE SAME AS | OBSERVED ON FEBRUARY 6, 2015 IN THE
FORM OF INGOTS). ACCORDING TO BAKER, SOUTHWEST METALS DID NOT ASK HIM ANY QUESTIONS IN REGARD TO
THE MATERIAL AND REQURIED NO DOCUMENTATION FROM HIM PRIOR TO PURCHASING THE MATERIAL. | CONDUCTED
AN INVESTIGATION INTO THE MATERIAL AND FOUND THAT BAKER AND HIS SUPERVISORS WERE STEALING THE
MATERIAL FROM THEIR WORKPLACE, UNIVERSAL INTERMODAL. UNIVERSAL INTERMODAL TERMINATED THE
EMPLOYEES BUT REFUSED TO MOVE FORWARD WITH CRIMINAL CHARGES,

Offense Detail: 9941 - INSPECTIONS/INVESTIGATIONS - OTHER INSPECTIONS
Offense Description 9944 - INSPECTIONS/INVESTIGATIONS - OTHER INSPECTIONS

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IBR Coda Locatlon 34-. SCALE SITE
IBR Group Offensa Completed? = YES No. Prem. Enterad
Crime Against HateBias = 00. NONE {NO BIAS) Entry Method
Offense File Class 98004 . Domestic Viclencea = NI Type Security
INSPECTIONS/INVESTIGATIONS -
OTHER INSPECTIONS
PAGC Toots Used
Local Code
Using
Criminal Activity
Weapons
Suspect $1: ASLINGER, GREG
Suspect Number $4 DOB 7/4/1964 Place of Birth
Nene ASLINGER, GREG Age 80 SSN
AKA Sex MM - MALE DLN
Alert(s) Race W- WHITE BLN Slate
Ethniciy U - UNKNOWN DLN Country
Address 90850 Mary St Rt Occupation/Grade
Caz TAYLOR, MI 48180 Wt. . Employer/Scheol
Eye Color Employer Address
Home Phona Hair Golor Employer CSZ
Work Phone Hair Style Res. County
Eraail Address Kalr Length Res. Country

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DETROIT POLICE DEPARTMENT CRIME ore” Piet ove7125 Panes ozs —
REPORT
Case No. 1502090237

Report No. 1502090237.2
Report Date: 2/42/2015

DETROIT POLICE DEPARTMENT

3

Page 3 of a

Scare/Marks/Tattoos
Suspect MO

Other MO

Attira

Habitual Offender
Status

Suspect Noles

NetRMS_MICR. cif ¥2f

MANAGER SOUTHWEST METALS

Faclal Hair

Complexion
Bulld
Teeth

Resident Status § - RESIDES IN THE
STATE BUT NOT THE
COUNTY OR
COMMUNITY WHERE
THE OFFENSE
OCCURRED

Printed: February 26, 2015 - 5:46 PM

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DETROIT POLICE DEPARTMENT CRIME 76—Fited

| REPORT

Case No. 1502090237

Report No. 1502090237.3

| Report Date: 3/18/2015

C410 71S Page 50

DETROIT POLICE DEPARTMENT

1

Page 1 of 2

Subject:

Case Report Status
County
Clty/Township

Occurred On

{and Between)
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Call Source

Vehicle Activity
Vehicle Traveling
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Means
Other Means

Motive
Other Motives

Report Narrative

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02/4918/SCRAP YARD VISIT/NO ARRESTS

|-IN PROCESS

62 - WAYNE
99 - DETROIT

2/6/2015 3:00:00 PM
3/18/2016 2:00:00 PM

8122 W FORT

5237
SW7 - 0207

MCKAY $397

A: NONE

8: SCRAP YARD RECORDS REQUEST

Date Enterad
Enterad By

Date Verified
Verified By

Date Approved
Approved By
Connecting Casas
Disposition
Tactical Actions
Clearance Reason
Bate of Clearance
Reporling Agency
Division

Notified

3/18/2015 2:17:19 PM
204398 - MCKAY, REBECCA

ACTIVE

DETROIT POLICE DEPARTMENT
DETROIT POLICE DEPARTMENT

4918 GENERAL ASSIGNMENT UNIT

Raportng Officer
234399 - MCKAY, REBECCA

Asalsted By

Assist Agency

Cc: |, DETROIT POLICE SERGEANT REBECCA MCKAY OF THE GENERAL ASSIGNMENT UNIT, IN RESPONSE TO TWO
FAILED ATTEMPTS AT RECEIVED REQUESTED RECORDS FROM SOUTHWEST METALS MADE A THIRD REQUEST FOR
RECORDS ON MARCH 9, 2018. THE REQUEST WAS EMAILED TO SOUTHWEST METALS (MANAGER, GREG ASLINGER AND
THE MAIN EMAIL MONITORED BY THE OWNER JOSEPH FAWAZ). THE REQUEST CONCENTRATED ON (5) SPECIFIC DATES
WHERE JOHN HOLLAND SOLD METALS TO THE YARD BELIEVED TO HAVE BEEN STOLEN FROM ANOTHER SCRAP YARD

INDUSTRIAL IN NATURE.

ON MARCH 17, 2015 | RECEIVED WORD THAT THE REQUEST WAS FILLED AND SENT DETROIT POLICE OFFICER TOMMY
BELL TO THE LOCATION TO PICK UP THE DOCUMENTS. WHEN OFFICER BELL ARRIVED HE WAS GREETED BY
MANAGER GREG ASLINGER, WHO EXPRESSED HIS OPINION ABOUT A WARRANT HE HAD BEEN NOTIFIED ABOUT WITH
REGARD TO RECORDS VIOLATIONS. THIS WARRANT WAS ISSUED MARCH 17, 2015 BY THE WCPO APA DENNIS.
DOHERTY AND STEMMED FROM THE FAILURE OF SOUTHWEST METALS TO PROVIDE DOCUMENTS REQUESTED WITH
RELATION TO A PEDDLER JOHN HOLLAND. ASLINGER TOLD OFFICER BELL THAT THE ISSUANCE OF THE WARRANT
WAS PERSONAL, OFFICER BELL TRIED TO EXPLAIN THAT THE YARD SIMPLY NEEDS TO COMPLY WITH THE LAW AND
THERE WOULD BE NO CONTACT WITH THE POLICE. ASLINGER GAVE OFFICER BELL THE DOCUMENTS SOUTHWEST

METALS HAD PREPARED.

ON MARCH 48, 2015 DETROIT POLICE DETECTIVE LAURA SPLITT AND | REVIEWED THE DOCUMENTS PROVIDED BY
SOUTHWEST METALS. UPON INSPECTION, WE BOTH NOTICED TWO TRANSACTIONS MISSING AN ATTACHED CHECK
(TIGKET#52588882 AND #52591299), BOTH OF THESE TRANSACTIONS WERE UNDER $28. IMMEDIATELY UPON RELAIZING
THIS, | ADVISED DETECTIVE SPLITT THAT THERE MAY BE YET ANOTHER VIOLATION TO BE CONCERNED WITH
OCCURING AT SOUTHWEST METALS, DETECTIVE SPLITT SAID SHE NOTICED THE CASHIER PAYING CUSTOMERS WITH
CASH FOR TRANSACTIONS. WHEN SHE WAS AT THE YARD IN THE FALL OF 2014, DETECTIVE SPLITT DID NOT ALERT ME
TO THE FACT BECAUSE SHE BELIEVED THAT WAS PERMITTED IF THE DOLLAR AMOUNT WAS UNDER A CERTAIN
NUMBER. | ADVISED DETECTIVE SPLITT AT THIS TIME THAT ABSOLUTELY NO CASH TRANSACTIONS ARE PERMITTED
ACCORDING TO STATE LAW (MCL 445.425). AS A RESULT OF THIS DISCOVERY | SENT AN EMAIL TO SOUTHWEST
METALS (GREG ASLINGER AND JOE FAWAZ) REQUESTING THE MISSING CHECKS IN AN EFFORT TO DETERMINE IF THE
CHECKS EXIST AND WERE OVERLOOKED. THIS WILL BE THE FOURTH REQUEST FROM THE YARD FOR THIS CASE. |
RECEIVED A TEXT MEASSAGE BACK FROM GREG ASLINGER READING "MISS MACKY WE DONT HAVE CHECKS FOR
THOSE TWO INCIDENTS BECAUSE IT'S UNDER $50" HE ALSO NOTED THAT SOUTHWEST DID NOT NEED THE ORIGINAL
CHECKS BACK THAT THEY PROVIDED IN THE REQUEST.

AFTER REVIEWING THE TICKETS IT WAS ALSO DISCOVERED THAT THE "BUY BY SELLER REPORT” PROVIDED UPON
THE FIRST DOCUMENT REQUEST WITH REGARD TO JOHN HOLLAND WAS DIFFICULT TO READ AND WHAT WAS AT
FIRST BELIEVED TO BE MULTIPLE VISITS IN ONE DAY MAY HAVE BEEN ONE SINGLE VISIT WITH MULTIPLE WEIGH INS
ON THE SCALE DIVIDING 4 LOAD ACCORDING TO COMMODITY. IT SHOULD BE NOTED THAT IF THE TICKET OF THE

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RE PO RT DETROIT POLICE DEPARTMENT

Case No. 1502090237
Report No. 1502090237.3
Report Date: 3/18/2015

Paga 2 of 2

TRANSACTIONS WOULD HAVE BEEN PROVIDED THIS CONFUSION WOULD HAVE BEEN AVOIDED. THE WCPO HAS BEEN
NOTIFIED OF THE CONFUSION, WHICH WILL NOT EFFECT THE MOST RECENT WARRANT ISSUED AS NUMEROUS
RECORD RELATED VIOLATIONS WERE DISCOVERED, THIS CONFIRMED MY FEARS THAT SOUTHWEST METALS WAS IN
VIOLATION OF ANOTHER STATE LAW WITH REGARD TO PAYMENT.

THE TICKETS PROVIDED BY SOUTHWEST METALS WITH REGARD TO JOHN HOLLAND FOR THE DATES OF 1/2, 1/14, 1/17,
1/20, 81/21/2015 CONTAINED SALES OF PREPARED STRUCTURAL STEEL AND PREPARED HEAVY METALS. THIS TYPE OF
METAL iS CONSITENT WITH STEEL IBEAMS AND OTHER HEAVY METAL USED TO MAINTAIN THE INTEGRITY OF A
BUILDING SO THAT IT REMAINS SAFELY STANDING. HOLLAND SOLD 12, 060 POUNDS OF HEAVY METAL AND WAS PAID
APPROXIMATELY .10 A. POUND AND 3360 POUNDS OF PREPARED STRUCTURAL STEEL AND WAS PAID APPROXIMATELY
-11 A POUND. THESE METALS ARE CONSISTENT WITH THE METALS REPORTED STOLEN BY FERRUOS PROCESSING
FROM THEIR SCHLAFER YARD LOCATED ON MEDBURY STREET. :

Offense Detail: 9941 - INSPECTIONS/INVESTIGATIONS - OTHER INSPECTIONS

Offense Deseription 9944 - INSPECTIONS/INVESTIGATIONS - OTHER INSPECTIONS

BR Code Localion 34. SCALE SITE
IBR Group Gffense Completed? YES No. Prem, Entered
Crime Against HaleiBias 00 - NONE (NO BIAS) Entry Method
Offanse File Class 98004 - Domeslic Violence =O Typa Security

INSPECTIONS/INVESTIGATIONS -
OTHER INSPECTIONS
Pacc Tools Used
Local Code

Using
Criminal Actlvity
Weapons

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Case 2:15-cv-11080-MOB-APP ECF No. 16-7, PagelD.378 Filed 04/07/15 Padtagedf di@

REBECCA MCKAY - Records request

From: REBECCA MCKAY

To: southwestmetals@comcast.net; southwestmetalsgreg@comcast.net
Date: 2/12/2015 6:10 PM

Subject: Records request

Be Thomas, Johnny; COLE, CHRISTOPHE; ABDURRASHEED, DEBBIE

Mr. Aslinger,

We were in Southwest Metals on February 6, 2015 and made several records requests. Today we received a
small portion of our request. I will make the request one more time.

¢ Records for John Holland, we have a running list of transactions and may need individual tags in
the future, however you are missing photos and/or video. You provided photos of the back of a van,
which did not include the load as required by law MCL 445.427 (2)g. Holland has numerous
transactions throughout the month of January. Your video goes back at least 30 days. Please provide
all video for the past 30 days were Holland has sold metals at Southwest Metals, City Code 49-8-11
(he was in your establishment almost every day). We will need footage of the scale and yard,

* Records for Willie Lavette - you provided no records, MCL 445.427 (1), We requested all
transaction receipts for the past 6 months and still photos for the past 30 days. Again, if the still
photos do not capture the load we need the video of the scale and the yard (30 days). Jf Lavette has
not been in the yard in the past 6 months please advise on the most recent dates and we will
determine what we need.

* Records for Robert Jones Jr - please provide a copy of the ID you have on file for Robert Jones Jr.

* Records for Gordon Davis - you provided no records. We requested all transaction receipts for the
past 6 months and still photos for the past 30 days. Again, if the still photos do not capture the load
we need the video of the scale and the yard (30 days).

* Records for Richard Baker - you provided the two receipts, video and photo for one transaction. We
need the video and photo for the load sold on February 3, 2015 (lead). If the photo does not show
the oad, we need the video of the scale and yard,

Please get this request to us immediately.

In addition, the method in which Southwest Metals Is photographing the ferrous metals coming across the
scale does not meet the standard set by the Scrap Metal Regulatory Act, specifically MCL 445.427, We have
had this discussion on several occasions - The photos MUST capture the load being sold. You are not
required to take a picture of each individual piece of metal, but you MUST take a photograph of the
contents as they are seen in the vehicle upon inspection. Most yards are using hand held digital cameras to
comply with the law. Perhaps this is an option at Southwest Metals.

Thanks

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Case 2:15-cv-11080-MOB-APP ECF No. 16-7, PagelD.379 Filed 04/07/15 Padtagraratm

Sergeant Rebecca McKay
Detroit Police Department
General Assignment Unit
Desk: 313-235-4359

Cell: 313-898-5833

Fax: 313-235-4385

"The Detroit Police Department is a model of sustained policing excellence that places our
neighborhoods and people first!"

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Case 2:15-cv-11080-MOB-APP ECF No. 16-7, PagelD.380 Filed 04/07/15 Pa@eg® bfof6

REBECCA MCKAY - Fwd: Records request

F
{

From: REBECCA MCKAY

To: Greg Aslinger

Date: 2/12/2015 6:11 PM
Subject: ' Fwd: Records request

Attachments: Records request

Sergeant Rebecca McKay
Detroit Police Department
General Assignment Unit

Desk: 313-235-4359

Cell: 313-898-5833

Fax: 313-235-4385

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Case 2:15-cv-11080-MOB-APP ECF No. 16-7, PagelD.381 Filed 04/07/15 PagPabe db2¢

REBECCA MCKAY - Records Request

E J

From: REBECCA MCKAY

To: Greg Aslinger; southwestmetals@comcast.net

Date: 3/9/2015 6:11 PM

Subject: Records Request

Be: Thomas, Johnny; COLE, CHRISTOPHE; ABDURRASHEED, DEBBIE

Mr. Aslinger,

This is a follow-up request in regard to John Richard Holland. The police department needs the actual
tickets for transactions made on specific dates between Southwest Metals and Holland. Include ALL
transactions made on the following dates:

January 2, 2015

January 14, 2015
January 17, 2015
January 20, 2015
January 21, 2015

With the tickets please include a copy of the check issued, finger print and signature, and license plate
numbers of vehicles used to sell the material. 1 am further requesting all photographs taken pursuant to the
statute (MCL 425.427). Past requests made did not include the photographs, but I am making the request
once again in regard to the above specific dates where Holland sold ferrous metals to Southwest Metals.

Thank you in advance. Please email, call or text when the request is ready.

Sergeant Rebecca McKay
Detroit Police Department
General Assignment Unit

Desk: 313-235-4359

Cell: 313-898-5833

Fax: 313-235-4385

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Case 2:15-cv-11080-MOB-APP ECF No. 16-7, PagelD.382 Filed 04/07/15 PagPagt bDbP6

REBECCA MCKAY - Records

f A

From: REBECCA MCKAY

To: Greg Aslinger; southwestmetals@comcast.net

Date: 3/9/2015 6:55 PM

Subject: Records

Be: COLE, CHRISTOPHE; Thomas, Johnny; ABDURRASHEED, DEBBIE

Mr. Aslinger,

I have another follow-up request. Richard Baker sold aluminum ingots to Southwest Metals on February 3,
2015 and February 6, 2015. I need additional iterns in regard to this customer.

Please provide a copy of his identification, the actual ticket dated 2/6/2015 ‘(I have the other ticket), the
licanse plate number of the vehicle delivering the metals both dates, a copy of the check issued on both
dates, a copy of the finger print and his signature for both transactions.

ALSO
This is the third request for the following:

Please provide the identification that Southwest Metals has on file for Robert Emery Jones Jr., BM 2-11-
1953 (he was in your system as Robert Jones Jr when we initially requested the information on February 6,
2015.

Thank you in advance. Please email, call or text when this request is complete.

Sergeant Rebecca McKay
Detroit Police Department
General Assignment Unit

Desk: 313-235-4359

Cell: 313-898-5833

Fax: 313-235-4385

“The Detroit Police Department is a model of sustained policing excellence that places our
neighborhoods and peopie first!"

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m= us/UN/2U15 17:31 FAX 586 755 3248
" Case 2:15-cv-11080-MOB-APP

Glossary

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About Resources

Contact __«WSRI

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FAQs Laws

Recycling Industry

* Glossary of Common Materials

Processed by Recycling Companies

Hame / Stop Metals Theft / Resources / Glossary

Ahout

Resources
Success Stories
Toots

Glossary

Have Questions?

: Brady Milks

Director of Law Enforcement
Outreach
BradyMills@isti.org

(202) 662-8526

CIMOScVnray

Glossary of Common Materials Processed by

Recycling Companies

(based on ISR! Specifications Gulde)

Description

» Number 1 Copper Wire or
. tubing. No coverings, no paint,
. ne solder, no joints, nothing

: inside,

: ‘Number 2 Capper — Used pipe
or wire contaminated with paint,
, #0lder, joints, or coating, May
‘have small amounts of
‘contaminating materiais(s)
inside, Copper wire with- Insulation removed by
buming. Possible sources include remodelling or
demolition projects.

g Sheet Copper — Rolled into

: ¢héets, Uses include roofing,

r downspouts and gutters. Note:
eae New material that is still shiny
fae thay be considered Number 1

wae ‘Copper.

http://www isti.org/stop-metals-thefVresources/glossaty

| Download PDF

Glossary of :
Common Materials
Processed by
Recycling
Companies
{based on ISR!
Spavifications
Guide)

ae a a fen)
To combat the
important Issue of
metals thefl, ISR!
has developed
www. ScrapTheftAlert,
an online theft atert
system that is

03/09/2015

vao/susyZULD LYildil FAA 586 755
Case 2:15-cv-11080-MO
Glossary

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«ingulated Copper Wire — Wite
+ covered with rubber, plastic or '
“other non-conducting material.

| Alurninium or Copper Radiators

‘= (Aluminium/Copper Radiators)

’ Can be found In vehicles and

| different types of machinery to
include air conditioner units.

Free of brass, plastic or iron parts / brackets.

, Red Brass ~ Electrical
hardware, low pressure valves,
: pipe fittings. Cemetery

” headstone plates and flawer

. ‘Vases (sometimes referred fo as
bronze). Free of lead or steel contamination.

A. Yellow Brass — Mixed brass.
| Plumbing fixtures, valves,
Sprinkler heads; water meters.

. Aluminium Sheet ~ Uncoated,
free of contaminants. No paper,
:, ink, plastic, etc. Uses include

. @ulo body parts, aircraft skins
and packaging.

Aluminium Extrusions —
Examples include window

. frames, screen enclosures,
m Gieachers, and ladders.

. Clean Aluminium Wire ~ Wire
' fee of plastic or rubber
| ‘Goatings. No steel,

i gm ’ Cast Aluminium — Products

‘wea Made by mold casting or sand
castings, i.e. Tire rims and
| engine blocks:

» Unclean Aluminium Wire —
(Often referred to as Insulated
Aluminium Wire. Has a plastic
‘or rubber coating,

http://www isri.org/stop-metals-thefV/resources/glossary

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available to law
enforcement,
recyclers, and
property owners -
free of charge.

Laan how to use
www.Scrap TheftAjert,
a free-of-charge
online (heft alert
system that Is
available to law
enforcement,
recyclers, and
property owners.

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Case 2:15-cv-

Glossary

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ae Aluminium Exterior -

F Sometimes called Aluminium
- Siding. Aluminium siding

' scrap. Can be painted. No
plastic or fiberglass.

:, Contaminated Aluminium -
. Often referred to as Dirty
;: Aluminium, Coated with plastic,

rubber or other contaminates. Examples include
auto parts, pots:and pans, and window frames with
screws,

| Stainiess Steel — Steel

. entaining nickel and chromium
fo prevent corrosion, rust or |
"water stains. Uses include
“eonstruction, medical.

oO equipment, drilling equipment
and water distribution systems.

Large Appliances ~ (White
|. Goods) Scrap refrigerators,
' washers and dryers, range
‘hoods, dishwashers, etc.

Mi. Steel Structural — Steel formed
.. inte specific shapes or beams,
. Used in construction.

a construction. Railings, stairs,
| orhamental objects.

' Sheet Irons - Thin sheets of iron
of steel sized by gauge, used.

' primarily for car / equipment

| Dody panels and construction.

» Motor-Vehicles Non-body Parts
ram ~ Engines, transmissions,

s. Catalytic converters, alternators,
a ‘batteries, atc,”

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Glossary . , Page 4 of 4.

‘ Catalytic Converters — Part of a
| Vehicle's axhaust system.
. Reduces pollutants. Contains
m precixus-metais such as
platinum.

‘.Lead — Clean soft scrap lead.

. Free of other materials,

" Typically found in sheet formn

. but.also in older wheel weights,
fishing. sinkers.

’ Elettric Motors ~ Whole electric
: motors or dismantiad parts.
: Either copper wound or
| aluminium wound. May still
have the steel casing with no

: Electronic Scrap - Cell phones,
:. laptops, tablets, atc, recycled for
. BCrap steel, aluminium, copper,
|. lead, circuit boards, plastics and
’ glass.

** To create a uniform mechanism for law:
enforcement to. search for materials, all purchased
materials entered into the scale system by a
recycling yard would be coded with one of these
codes. The scale ticket reflects the item name.as
the yard deenis fit, but on the backend of the
systerh, the computer will sort afl incoming
purchased materials into one of these categories.

About» Laws

Resouces FAQs Other ISRi Sites Phone Privacy
Tools Recycling Industry GertifyMeRecycling.org == (202) 662-8500
Law Enforcement tent eately.org Fax Pall
Prasecutors onvention.org ol
Recyclers Scrap.org (202) 626-0800 Y
' ScrapTheftAlert.org Contact
Stop Metals Fheft.ong
Us
' Terms of
Use
Sitemap

Institute of Scrap Recycling Industries, Inc. 1615 L Street, NW Suite 600 Washington, DC 20036-5610

http://www isri.org/stop-metals-theft/resources/glossary 03/09/2015

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Case 2

Case 2:15-cv-11080-MOB-APP ECF No. 16-7, PagelD.396 Filed 04/07/15 PagBags bobs

REBECCA MCKAY - Records received

From: REBECCA MCKAY

To: Greg Aslinger; southwestmetals@comcast. net

Date: 3/18/2015 1:55 PM

Subject: Records received

Bc: COLE, CHRISTOPHE; ABDURRASHEED, DEBBIE; Thomas, Johnny; James, Kim; ...

Mr. Aslinger,

Do you have the checks for ticket number 52588882 on 1/2/2015 and 52591299 on 1/21/2015? Also, you
know I asked for copies of the issued checks and you gave me originals? Don't you need your originals?

Let me know. You can scan and email the two checks from those tickets, that will suffice.

Thanks

Sergeant Rebecca McKay

Detroit Police Department
General Assignment Unit

Desk: 313-235-4359

Cell: 313-898-5833

Fax: 313-235-4385

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neighborhoods and people first!"

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